             Case 1:17-cr-20527-BB Document 8 Entered on FLSD Docket 04/12/2018 Page 1 of 1


             UNITED STATES DISTRICT COURT FQR SQUTHERN DISTRICT OF FLORIDA **COURT ORDER/MINUTES**
                       U.S.MAGISTRATE JUDGE BARRY S. SELTZER - FORT LAUDERDALE FLORIDA ROOM 110
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       DEFT:        RENELJ.BAZILE (J)#               CASE NO: 17-20527-CR-BLOOW VALLE
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     **ATHE TIM E FROM TODAY THROUG H THE RE-SCHEDULED DATE IS EXCLUDED FROM THE DEADLINE FOR TRIAL AS
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     COM PUTED UNDER THE SPEEDY TRIAL ACT ******YES OR NO DAR:
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